UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

WILLIAM DAMON AVERY,

Plaintiff,
Case No. 11-CV-0408-JPS
V.

CITY OF MILWAUKEE, DETECTIVE
GILBERT HERNANDEZ, DETECTIVE
DANIEL PHILLIPS, DETECTIVE
KATHERINE HEIN, DETECTIVE TIMOTHY
HEIER, DETECTIVE KEVIN
ARMBRUSTER, and DETECTIVE JAMES
DEVALKENAERE,

Defendants.

 

SATISFACTION OF JUDGMENT

 

Judgment was rendered in favor of the above-named plaintiff and against only the
defendants, City of Milwaukee, Gilbert Hernandez, and Daniel Phillips, in the above-entitled
action, on the 15" day of September, 2017, in the sum of $1,000,000.00 and for costs. The
above-named plaintiff acknowledges payment of said judgment, costs and interest in full and
desires to release his judgment and hereby and completely satisfies the same.

PEOPLE’S LAW OFFICE

s/ Ben H. Elson
Attorneys for the Plaintiff
Subscribed and sworn to before me

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